74 F.3d 1234NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    John Paul TURNER, Plaintiff-Appellant,v.David S. KUYKENDALL, Defendant-Appellee,andVIRGINIA DEPARTMENT OF CORRECTIONS, Defendant.
    No. 95-7563.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 14, 1995.Decided Jan. 18, 1996.
    
      John Paul Turner, Appellant Pro Se.
      Before ERVIN, Chief Judge, and WIDENER and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's orders denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint and denying his motion for reconsideration.  We have reviewed the record and the district court's opinions and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Turner v. Kuykendall, No. CA-95-1020-R (W.D.Va. Sept. 15, 1995 and Sept. 22, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.  Appellant's motion to consolidate cases is denied.
    
    AFFIRMED
    